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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

JOSHUA BINETTE,                           )
                                          )
             Plaintiff                    )
                                          )       2:16-cv-00612-GZS
v.                                        )
                                          )
YORK COUNTY DEPARTMENT                    )
OF CORRECTIONS, et al.,                   )
                                          )
             Defendants                   )

       RECOMMENDED DECISION AFTER SCREENING COMPLAINT
              PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

      In this action, Plaintiff Joshua Binette, an inmate in custody at the York County Jail,

alleges that on October 10, 2016, certain conditions of his confinement were unreasonable.

(Complaint, ECF No. 1.) Plaintiff filed an application to proceed in forma pauperis (ECF

No. 4), which application the Court granted (ECF No. 6).

      In accordance with the in forma pauperis statute, a preliminary review of Plaintiff’s

complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally, Plaintiff’s complaint is

subject to screening “before docketing, if feasible or … as soon as practicable after

docketing,” because he is “a prisoner seek[ing] redress from a governmental entity or

officer or employee of a governmental entity.” 29 U.S.C. § 1915A(a).

      Following a review of Plaintiff’s complaint, I recommend the Court dismiss the

complaint.




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                                    Standard of Review

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at

any time if the court determines,” inter alia, that the action is “frivolous or malicious” or

“fails to state a claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s amended complaint is

subject to screening under the Prison Litigation Reform Act because Plaintiff currently is

incarcerated and seeks redress from governmental entities and officers. See 28 U.S.C. §

1915A(a), (c). The § 1915A screening requires courts to “identify cognizable claims or

dismiss the complaint, or any portion of the complaint, if the complaint (1) is frivolous,

malicious, or fails to state a claim …; or (2) seeks monetary relief from a defendant who is

immune from such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The relevant question

... in assessing plausibility is not whether the complaint makes any particular factual

allegations but, rather, whether ‘the complaint warrant[s] dismissal because it failed in toto

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to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–Reyes v. Molina–

Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14).

Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal

pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint

may not consist entirely of “conclusory allegations that merely parrot the relevant legal

standard,” Young v. Wells Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti

v. Moran, 618 F.2d 888, 890 (1st Cir. 1980) (explaining that the liberal standard applied to

the pleadings of pro se plaintiffs “is not to say that pro se plaintiffs are not required to plead

basic facts sufficient to state a claim”).

                                      Background Facts

       Plaintiff alleges that on October 10, 2016, Defendants required that he remain in his

cell “for several hours with his cell mates” after the county jail septic system backed up

and flooded his cell. (Complaint at 3, ECF No. 1.) Plaintiff asserts he was served a meal

in his cell while the conditions existed, but the conditions made him sick and he did not eat

his meal. (Id.) Plaintiff alleges other non-contaminated cells were available in the unit at

the time. (Id.)

                                             Discussion

       “It is undisputed that the treatment a prisoner receives in prison and the conditions

under which [the prisoner] is confined are subject to scrutiny under the Eighth

Amendment.” Helling v. McKinney, 509 U.S. 25, 31 (1993). “Undue suffering, unrelated

to any legitimate penological purpose, is considered a form of punishment proscribed by

the Eighth Amendment.” Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014) (citing Estelle

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v. Gamble, 429 U.S. 97, 103 (1976)). Under the Eighth Amendment, prison conditions

cannot be inhumane, but they need not be comfortable. Farmer v. Brennan, 511 U.S. 825,

832 (1970). Cruel and unusual punishment consists of the denial of “the minimal civilized

measure of life’s necessities” assessed based on “the contemporary standard of decency.”

Rhodes v. Chapman, 452 U.S. 337, 347 (1981).

       Plaintiff has not alleged any facts to suggest the existence of an inhumane condition

that denied him the minimal civilized measure of life’s necessities. While unsanitary

conditions of confinement can constitute cruel and unusual punishment, actionable cases

involve prolonged exposure to unsanitary conditions, which exposure at a minimum

consisted of multiple days. Hutto v. Finney, 437 U.S. 678, 686 – 87 (1978) (“[T]he length

of confinement cannot be ignored .... A filthy, overcrowded cell ... might be tolerable for

a few days and intolerably cruel for weeks or months.”); See, e.g., McBride v. Deer, 240

F.3d 1287, 1292 (10th Cir. 2001) (three days in proximity to human waste without adequate

cleaning supplies deemed sufficient to state a non-frivolous claim); Smith v. Copeland, 87

F.3d 265, 269 (8th Cir. 1996) (affirming entry of summary judgment where plaintiff was

subjected to an overflowed toilet for four days).

       Plaintiff’s allegation regarding the receipt of a meal under the alleged conditions

does not alter the assessment. See, e.g., Islam v. Jackson, 782 F. Supp. 1111, 1114 – 15

(E.D. Va.1992) (serving one meal contaminated with maggots and meals under unsanitary

conditions for thirteen days was not cruel and unusual punishment, even though inmate

suffered symptoms of food poisoning on one occasion); Bennett v. Misner, No. 3:02-cv-

1662, 2004 WL 2091473, at *20, 2004 U.S. Dist. Lexis 19568, at *63 (D. Or. Sept. 17,

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2004) (“Neither isolated instances of food poisoning, temporary lapses in sanitary food

service, nor service of meals contaminated with maggots are sufficiently serious to

constitute an Eighth Amendment violation.”).

       In short, Plaintiff’s assertion that he was served one meal while required to remain

in an unsanitary cell on one day is insufficient to sustain an actionable claim. Accordingly,

dismissal is appropriate.

                                         Conclusion

       Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C.

§ 1915A(a), I recommend the Court dismiss Plaintiff’s complaint.


                                          NOTICE


              A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       shall be filed within fourteen (14) days after the filing of the objection.
              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court’s order.


                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge
       Dated this 10th day of February, 2017.




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